IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LANDMARK AMERICAN INSURANCE
COMPANY

Plaintiff, CIVIL ACTION FILE

Vv.

NO. 23-2576
BENGAL CONVERTING SERVICES, INC.;
ENVISTA FORENSICS, LLC d/b/a AREPA;
LINKS DEBT FUND, LLC, THE VICTORY
BANK and COHEN & CLARK, P.C.

Defendants,

DEFENDANT LINKS DEBT FUND, LLC’S AMENDED REPLY BRIEF IN
FURTHER SUPPORT OF ITS MOTION TO RELEASE INTERPLEAD
FUNDS TO CREDITOR LINKS DEBT FUND, LLC AND TO LIFT STAY

Defendant Links Debt Fund, LLC (“Links Debt”), by and through its
undersigned counsel, hereby files this Amended Reply Brief in further support of its
Motion to Release Interplead Funds and to Lift Stay (the “Motion”). As will be
further explained below, the Respondents have not pointed to any rule or legal
standard that would supplant Links Debt’s priority right to the interplead funds.
Rather, it remains clear that Links Debt as the senior lien holder has a priority
right to the interplead funds. Accordingly, Links Debt requests that this Court

grant its Motion and award it the interplead funds.

I. LINKS DEBT HAS THE PRIORITY LIEN TO THE INTERPLEAD
FUNDS

Under the Uniform Commercial Code as codified in Pennsylvania, a creditor
with a perfected security interest in collateral generally has an interest in the

collateral that is superior to any interests of unsecured creditors. See United States
Fidelity & Guarantee Co. v. United Penn Bank, 362 Pa. Super. 440, 524 A.2d 958,
960 (Pa. Super. Ct. 1987); 13 Pa. C. S. § 9201. "Perfection requires (1) attachment
and (2) the filing of a financing statement with state and local government offices
indicating the debtor, the secured party, and the collateral attached." Interbusiness
Bank, N.A. v. First Nat'l Bank of Mifflintown, 318 F. Supp. 2d 230, 237 (M.D. Pa.
2004), citing 13 Pa. Cons. Stat. §§ 9308(a), 9310(a), 9502 (further citations omitted).

Where two or more creditors have perfected security interests in the same
collateral, the party who filed his security interest first will generally have priority.
13 Pa. Cons. Stat. § 9322 ("Conflicting perfected security interests ... rank
according to priority in time of filing or perfection. Priority dates from the earlier of
the time a filing covering the collateral is first made or the security interest... is
first perfected.").

In this matter, the record clearly shows that Links Debt was the first creditor
to perfect its security interest by filing a UCC-1 Financing Statement. Accordingly,
Links Debt has priority to all of the Bengal business assets, including, but not
limited to the interplead funds. See, e.g., Domus, Inc. v. Davis-Giovinazzo Constr.
Co., No. 10-1654, 2011 U.S. Dist. LEXIS 93426 (E.D. Pa. Aug. 22, 2011).

Il. LINKS DEBT DID NOT WAIVE OR ASSIGN ITS RIGHT TO THE
INTERPLEAD FUNDS

It appears that the main challenge to Links Debt’s right to the interplead
funds has been voiced by Respondent Envista Forensics, LLC d/b/a AREPA
(“AREPA’), who claims that equity allegedly requires that AREPA somehow be

awarded the interplead funds. AREPA claims that Links Debt has somehow waived
its right to these funds, and that AREPA somehow has a priority right to the funds
due to its being an alleged unpaid contractor. However, as set forth below, neither
of these claims has any merit, nor do they change the simple fact that Links Debt

has the priority interest in the interplead funds.

a. LINKS DEBT DID NOT WAIVE OR ASSIGN ITS RIGHT TO THE
INTERPLEAD FUNDS

AREPA’s first claim is that Links Debt somehow waived its right to the
interplead funds due to Scott Korn serving as both President of Bengal and as
Manager for Links Debt. However, while Mr. Korn may wear many hats, any
documents he signed with AREPA were done only in his capacity as President of
Bengal, and did not reflect the will or consent of Links Debt, a separate company
owned by a separate entity. Links Debt is not owned by Mr. Korn, and Links Debt
is merely a secured creditor of Bengal. Accordingly, Mr. Korn did not waive any
claim that Links Debt had in the interplead funds when he acted as an officer upon
Bengal’s behalf.

Further, Links Debt is not owned by Mr. Korn nor by Bengal. Rather, Links
Debt is wholly owned by a third party, being the Scott H. Korn Irrevocable
Delaware Trust II (the “Trust”), for which The Commonwealth Trust Company
(“Commonwealth Trust”) serves as Trustee. A true and correct redacted copy of the
First Amended and Restated Operating Agreement of Links Debt Fund, LLC, which
states that the Trust owns 100% of Links Debt, is attached hereto as Exhibit “1”,
The Trust is the only member of Links Debt, and the Trust owns 100% of the

membership interests in Links Debt. See, Exh. “1”
Accordingly, neither Mr. Korn nor Bengal have any legal ownership interest
in any asset owned by the Trust. As Links Debt is wholly owned by a third party,
being the Trust for which Commonwealth Trust serves as the Trustee, it 1s that
third party entity that maintains the secured interest in the assets of Bengal.

The Pennsylvania Uniform Trust Act (Title 20, Chapter 77, § 7701, et seq.)
outlines the rights of beneficiaries, and it specifies that beneficiaries are entitled to
receive certain information about the trust and its administration but do not have
an ownership interest in the trust assets.

In this matter, any contracts signed by Mr. Korn with AREPA were done
solely in his position as an officer of Bengal, on behalf of Bengal, and did not reflect
the will or the consent of Links Debt (a separate third party entity, wholly owned by
the Trust). AREPA cannot provide any documents which Mr. Korn signed with
them on behalf of Links Debt in this matter, because none exist.

AREPA’s claims would have this Court believe that if one person is a
manager or officer of multiple companies, that any action he/she takes on behalf of
one company would bind the other, even though they have no connection to the
contract at issue. This would be like holding Tesla responsible for a SpaceX
obligation, just because Elon Musk is an officer of both companies. This is not just a
slippery slope; AREPA’S position is just plainly wrong, and would have drastic
consequences for companies all across the United States.

As Links Debt has not waived any right to the interplead funds, Links Debt’s

Motion should be granted and it should be awarded the interplead funds.
b. NO FURTHER DISCOVERY IS NECESSARY REGARDING
LINKS DEBT

AREPA also claims that they need to conduct discovery on the relationship
between Links Debt and Bengal. However, such discovery is not necessary, nor
permissible.

As Links Debt is a separate company owned by the Trust, Links Debt has
provided sufficient documentation regarding the ownership of Links Debt (See, Exh.
“1”) | Further, Links Debt has provided sufficient filed documentation to
demonstrate that it is a secured creditor of Bengal and that it is in first lien
position.

Any discovery into this alleged issue would only cause the parties to incur
unnecessary legal costs, and would further delay the release of the interplead funds.
Links Debt should not and cannot be required to provide any confidential or private
documentation or financial information, when such information is not relevant to
this matter.

According to Rule 4012 of the Pennsylvania Code, a party or the person from
whom discovery or deposition is sought can file a motion for a protective order. Pa.
R.C.P. 4012. Moreover, pursuant to Rule 4011, the court can issue an order to
protect a party or person from unreasonable annoyance, embarrassment,
oppression, burden, or expense. Pa. R.C.P. 4011(b).

The issued order can include various measures, such as prohibiting the
discovery or deposition entirely, limiting its scope, or specifying the terms and

conditions under which it may occur. Pa. R.C.P. 4012(a).
Further, Rule 4003.1(a), provides that discovery is hmited to "matters
relevant to the subject matter involved in the pending action." Pa. R.C.P. 4003.1 (a).

In this matter, all required documentation regarding ownership interests,
corporate structure, and secured lien position have already been provided. The
privacy and confidentiality of third parties' financial information must be protected,
unless there is a compelling reason to disclose it. No compelling reason has been
provided by AREPA, who seeks to proceed on an unjustified fishing expedition.

As Links Debt has already provided clear evidence of its ownership and of its
security interest in the interplead funds, the discovery requested by AREPA would
only be an unreasonable annoyance, embarrassment, oppression, burden, and

expense to all parties.

Ill. AREPA HAS NO SUPERIOR RIGHT TO THE INTERPLEAD
FUNDS BEFORE LINKS DEBT

AREPA also claims that the “law favors unpaid contractors over secured
creditors”; however, this is simply not true! AREPA bases this alleged rule on the
Third Circuit’s decision in Gebco Inv. Corp., 641 F.2d 143 (3d Cir. 1981) (““Gebco”),
but Gebco relates to a bankruptcy trustee, not to a perfected priority secured
creditor, such as Links Debt. Additionally, there is no such hard and fast rule that
would apply to the fact pattern in this matter.

Rather, the case that forms the basis for the decision in Gebco, being Gee v.
Eberle, 279 Pa. Super. 101, 420 A.2d 1050 (1980) (“Gee”), has been clarified and
limited by more recent Pennsylvania Superior Court cases. For example, in L & W

Supply Corp. v. Amin, Nos. 8082 EDA 2012, 3083 EDA 2012, 2014 Pa. Super.
Unpub. LEXIS 3686 (Jan. 13, 2014) (““L&W’), the Pennsylvania Superior Court
noted that a claim for unjust enrichment pursuant to Gee should be limited to
instances where lender obtained title of the subject property after improvements
were made. That cited instance has no application to this matter.

Moreover, unlike in Gebco or Gee, since the underlying property has not been
sold, the benefit of AREPA’s work cannot be easily calculated. Because the
underlying property was sold in those prior cases, the Court in those matters was
able to determine the financial benefit of the contractor’s work. In this matter, no
such calculation can be completed. Rather, AREPA merely claims that its work
somehow benefited Bengal and Links Debt by the full value of the interplead funds.
AREPA has provided no evidence of this claim.

As there is no rule or relevant case law that would provide AREPA with a
priority security interest based on some alleged theory of equitable subrogation,
Links Debt’s Motion should be granted and Links Debt should be awarded the
interplead funds.

IV. CLARKE & COHEN, INC.’S CROSS MOTION SHOULD BE
DENIED

Clarke & Cohen has also filed a response to Links Debt’s Motion, wherein
Clarke & Cohen alleges that its claim to a contingency fee is superior to any
competing claim by Links Debt. However, Clarke & Cohen has not provided any
citation to support their claim.

Clarke & Cohen instead cite to Ins. Adjustment Bureau, Inc. v. Allstate Ins.

Co., 588 Pa. 470, 905 A.2d 462 (2006) (“Allstate”), and claims that this case
somehow supports their claim that a public adjuster’s claim has priority. However,
this alleged holding is not found in Allstate. Rather, Allstate states that “other
applicable regulations appear to assume that the contract may create a security
interest in favor of the adjuster.” Ins. Adjustment Bureau, Inc. v. Allstate Ins. Co.,
588 Pa. 470, 483, 905 A.2d 462, 470 (2006) (citing See 31 Pa. Code § 115.3(d)(3)).
However, assuming a security interest does not provide that said interest (if it even
exists) has priority over a separate previously filed security interest.

While Clarke & Cohen may have a security interest in the interplead funds,
neither Allstate nor the Pennsylvania Code provide that their assumed interest has
priority over a first in time, perfected secured creditor. As there is no rule nor
relevant case law that would provide Clarke & Cohen with a priority security
interest, Links Debt’s Motion should be granted and Links Debt should be awarded

the interplead funds.

V. THE STAY MUST BE LIFTED AND THE INTERPLEAD FUNDS
MUST BE DISBURSED TO LINKS DEBT

Finally, the Stay entered in this matter must be lifted. The purpose of this
Stay was to allow Bengal and Defendant AREPA to complete the Arbitration Action;
however, the result of the Arbitration Action should have no impact on Links Debt’s
right to the Funds.

As Links Debt is the priority security interest holder, whoever is successful in
the Arbitration Action will still only have a junior claim subject to Links Debt’s

priority claim to the Funds. As the Arbitration Action will have no impact on Links
Debt’s right to the Funds, Links Debt hereby requests that this stay be lifted to
allow for the release of the secured Funds rightfully due to Links Debt.
VI. CONCLUSION
Links Debt Fund, LLC respectfully requests that this Honorable Court enter
an Order lifting any previously entered stay that prevents the release of the funds
at issue, awarding all Funds at issue in this matter to Links Debt Fund, LLC, and
granting Links Debt Fund, LLC such other and further relief as the Court deems

just and proper.

BERGER LAW GROUP, PC

3/5/24 By: Philtip h. Cerger

PHILLIP D. BERGER, ESQ.

Attorney for Defendant Links Debt Fund, LLC
919 Conestoga Road, Building 3, Suite 114
Bryn Mawr, PA 19010

(610) 668-0800

Berger@BereerLawPC.com

Dated:

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FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LANDMARK AMERICAN INSURANCE
COMPANY
Plaintiff,
Vv.

BENGAL CONVERTING SERVICES,
INC.; ENVISTA FORENSICS, LLC d/b/a
AREPA; LINKS DEBT FUND, LLC, THE
VICTORY BANK and COHEN & CLARK,
P.C.

Defendants,

CIVIL ACTION FILE

NO. 23-2576

CERTIFICATE OF SERVICE

I, Phillip Berger, hereby certify that on this day J electronically filed the

forgoing and that a copy has been served on all parties of record via the Court’s ECF

system.

BERGER LAW GROUP, PC

3/5/24
Dated: By:

P hiltip L. Cerger

PHILLIP D. BERGER, ESQ.

Attorney for Defendant Links Debt Fund, LLC
919 Conestoga Road, Building 3, Suite 114
Bryn Mawr, PA 19010

(610) 668-0800

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EXHIBIT 1
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FIRST AMENDED AND RESTATED OPERATING AGREEMENT
OF
LINKS DEBT FUND, LLC

This First Amended and Restated Operating Agreement (the “Agréement") is made gnd
entered into on this 12 day of June, 2023 (the “Eifective Date”) by LINKS DEBT PUND, LLC,
a Pennsylvania limited liability company (the “Company”) and SCOTT H. KORN
TRREVOCABLE DELAWARE TRUST IE (the “Afemdber” and, collectively with any Member or

Mainbers subsequently admitted to the Company, the “Afentbers”).
RECITALS:

WHEREAS, the Company was formed under the laws of the Commonwealth of
Pennsylvania by the filing of a Certificate of Organization with the Department of State of the
Commonwealth of Pennsylvania on March 31, 2016 (the “Certlffcate”);

WHEREAS, the Company and Its affairs and relationship between the Mombers are
currently governed by that certain Operating Agreement dated March 30, 2016 (as amended,
including by that certain Amendment No. f dated May 10, 2018, the “Prior Agrecment’):

WHEREAS, the Member is the sole member of the Company and desires (o amend and
restate the Prior Agreement ot: the terns and conditions Set forth herein and for this Agreement
to supersede the Prior Agreement in its entirety.

NOW, THEREFORE, in consideration of the foregoing and the premises ard the
agreaments hereinafler set forth, ard for other goad and valuable consideration, the recoipt and
sufficiency of which are hereby acknowledged, and intending to be legally bound hereby, the
parties hereto hereby amend and restate the Prior Agreeinent in its entirety as follows:

1. Formation. The Company bas heretofore been organized as a Pennsylvania
timited tiability company by the filing of the Certificate with the Department of State of
ihe Commonwealth of Pennsylivanta end continugs under and pursuant to the
Pennsylvania Limited Liability Company Act which was in effect al that time.

2. Name. The name of the Company is LINKS DEBT FUND, LLC.

3. Effective Date, This Agreement is effective as of the Effective Date.

4, Term. The term of the Company cormmmenced upon the filing of the Certificate
with the Pennsylvania Department of State and shall continue in perpetuity, uniess the

Company is earlier dissolved upon the consent of the Member or in accordance with the
provisions of the Pennsylvania Uniform Limited Liability Company Act of 2016, 15 Pa.

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C.5. § 8811 ef, seg., and any successor stalute, in cach case, as amended from time to
time (the Act”).

5. Purpose. ‘The purpose of the Company is to engage in any lawful act or activity
for which limited lability companies may be organized under the laws of the
Commonwealth of Pennsylvania (inckuding the Aot} and, with respect to activities
conducted in other jurisdictions, under the laws of such other jurisdictions.

6. egistere ice: Principal Place of Business; Other Offices. The registered
office of the Company required by the Act ta be maintained in the Commonwealth of
Pennsylvania {s 134 Anton Road, Wynnewood, PA 19096 or such olher office (which
need not be a place of business of the Company) as the Manager may designate from time
to time in the manner provided by law. The principal place of business of the Company
shall be at such place as the Manager may designate from time to time, which need not be
in the Commonwealth of Pennsylvania. The Company may have such other offices.ag the
Manager may designate from time to time..

7. Qualification in Other Jurisdictions. The Company may register in any other

jurisdiction upon the approval of the Manager.

8. Interests in Company/Capital Contributions. As of the Effective Date, the
Member is the only member of the Company and shall own all of the membership
interests therein as set forth in Schedule A attached hereta, The Member may contribute
cash or other property to the Company from time to time. The Member shal! have no
obligation or liability to contribute or otherwise provide any other funds or assets to the
Company.

9, Additional Members. The Member may admit additional members and
determine the rights and privileges associated with their membership interests.

10.  Manxgement. The business and affairs of the Company shall be vested in and
managed by or under the direction of the manager (the “Afanager"), who may exercise
all of the powers of the Company except as otherwise prohibited by law, The Manager
shall have the full power and authority to authorize, approve or undertake any action on
behalf of the Company aud tc bind the Company without the necessity of a meeting.
From and afler the date of this Agreement, the Manager shall contribute to the Company
sufficient time, labor and attention. Tho Manager may resign ftom die Company at. any
time by written resignation to the Member. Upon such resignation, the vacancy shall be
filled by the Member. The initial Manager under this Agreement shall be Scot’ H. Korn.
The Manager may: (i) appoint, by written designation or resolution filed with the records
of the Company, one or more persons as officers of the Company to act on behalf of the
Company and serve at the pleasure of the Manager with such titles as may be appropriate
(including the tides of Chief Executive Officer, President, Vice President, Treasurer, and/

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or Secretary) and such duties and powers ag the Manager may proscribe and as are
incident to the office of such officer, and (ji) delegate any and all power and authority
with respect {a the business afd affairs of the Company to any’ individual or cntity,
including any officers or employees of the Company, The initial Manager hereby
appoints Scott H. Korn as the Chief Executive Officer and President of the Company.

11. Dissolution. The Company shail be dissolved in accordance with Section 4 of
this Agreement.

12. No Liability of Members/Managors. No Member, Manager, or affiliate of a
Member or Manager, or any officer of the Company shall have any liability to the
Company or to any Member for any loss suffered by the Company that arises out of any
action or inaction of any Member, Manager, or affiliate of a Member or Manager, or any
officer, if such Member, Manager, affiliate, or such officer, as the case may be, in good
faith, determined that such course of conduct was in the best Interests of the Company
and if such course of conduct did not constitute gross negligence or willful misconduct of
such Member, Manager, affiliate, or such officer. Bach Member, Manager, and affiliate
of a Member or Manager, and each officer shall be indemnified by the Company against
any losses, judgments, liabilities, expenses and amounts paid in setiicment of any claims
sustained by it with respect to actions taken by such Member, Manager, affiliate of a
Member or Manager, or such officer on behalf of the Company, provided that the
Company shall not indeninify any person with respect to any matter as to which such
person shall have been adjudicated in any proceeding to have acted with gross negligence
or willful misconduct, Without limiting the foregoing, such indemnification may include
payment by the Company of expenses incurred in defending a civil or criminal action or
procecding in advance of the final disposition of such action or proceeding, upon receipt
of an undertaking by the person indemnified to repay such payment if such person shall
be adjudicated not to be entitled to indemnification under this Section 12, which
undertaking may be accepted without reference to the financial ability of such person to
make repayment. Any indemnification to be provided hereunder may be. provided
although the person to be indemnified is no longer a Member, Manager or an affiliate of a
Member or Manager, or an officer. Any indemnity under this Section 12 slall be paid
from, and only to the extent of, Company assets, and no Member shall have any personal
liability on account thereof. The indemnification provided for herein shall not be deemed
exclusive of any other rights fo which those indemnified may be entitled under any
agreement, vote of Members or otherwise, both ag to action in their official capacity and
as to action in another capacity while holding such office, and shall continue as to a
person who has ceased to be a Member (or ait affiliate of a person who has ceased fo be a
Member} or officer and shall inure to the benefit of the heirs, executors and
administrators of such a person, Any repeal ot modification of the foregoing provisions
of this Section 12 by the Members shall not adversely affect any right or protection of @
Member, Manager, or affiliate of 3 Member or Manager, or any officer of the Company

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existing at the lime of, or increase the liabitity of any such person with respect to any acts
or omissions of such person oceurting prior to, such repeal ot modification.

13. Books and Records; Tax Matters. The Company shall keep, or cauae fo be kept,
complete and accurate books and records of the Company on the jncome tax melhad of
reporting and otherwise in accordance with generally accepted accounting principles
consisicatly applied, which shall be maintained and be avatlable, in addition to any
documents and information required to be furnished to the Members under the Act at the
office of the Company for examination and copying by any Member, or his, her or its
duly authorized representatives, at the Member's reasonable request and at he Member's
expense during ordinary business hours. The Company shall cause its accountants to
prepare and timely file all tax retums required to be filed for the Company.

14. Bank Accounts, Al funds of the Company shall be deposited in one or more
accounts with one or more recognized financitl institutions in the name of the Company,
at such locations as shall be determined by the Manager. Withdrawal from such accaunts
shall require the signature of the Manager or such person or persons as the Manager may
designate,

15. Allocation of Profits and Losses. So long as the Company is wholly owned by 4
single Member, the Company will be treated as a “disregarded entity” for applicable
federal, state and local income tax purposes and the Company will not elect to he treated
as an association taxable as a corporation. Consequently, all items of income, gain,
deduction, loss and credit for tax purposes shall be considered to be ¢amed ar incurred, as
the case may be, directly by such single Member. In the event that the Company has
more than 2 single Member, the Company will, unless the Members unanimously agree
atherwise, be treated as # pass-through organization and all of the Company's income,
profits and losses shal! be allocated ta the Members in accordance with their respective
membership interest in the Company. The Members hereby authorize the Manuger to file
atty necessary elections with any tax authorilics to be treated as a “disregarded entity” Cif
there {s a single Member) or a pass-through organization (if there is more than one
Member) and shall be required to file any necessary tax. returns on behalf of the Company
with any such tax authorities as required by applicable law.

16. Distributions. Distributions shall be made to the Member at the time and tn the
aggregate amounts ag determined by the Manager,

17. Third Party Beneficiaries, The provisions hereof are solely for the benefit of the
Company and its Menther(s), Manager(s), and officer(s) of the Company, and are hot
intended to, and shall not be construed (o, confer a right or benefit on any credilor of the
Company or any other petson.
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18. Amendment; Governing Law. This Agreement may dnly be amended in writing
and rivmat be signed by the Member. This Agreement shall be construed and enforced in

accordance with the laws of the Commonwealth of Pennsylvania, including the Act, as
interpreted by the courts of the Commonwealth of Pennsylvania, notwithstanding any
rules regarding choice of law ta the contrary.

[Signature Page Fallows}

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IN WITNESS WHEREOF, the undersigned has executed this Agreement ag of the date
first above written,

COMPANY:

LINKS DEBT FUND, LLC

sis :
Acai Kom, Manager ,
MEMBER:

SCOTT H. KORN IRREVOCABLE DELAWARE
TRUST 1

By: Commonwealth Trust Company, solely in its
capacity as Trustce and not in its individual
capacity

lis: Trustee

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FIRST AMENDED AND RESTATED OPERATING AGREEMENT
LINKS DEBT FUND, LLC

SCUEDULE A

|
Member Name and Address embershi “C5

SCOTT H. KORN IRREVOCABLE 100%
DELAWARE TRUST II

c/o Commonwealth Trust Conipany
29 Bancroft Mills Road |
Wilmington, DE 19806

